Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1347 Filed 10/02/15 Page 1 of 13




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 ALISTAIR MCGEE,
                                                 Criminal Case No. 10-20075-3
             Movant,                             Civil Case No. 13-11601
 v.
                                                 SENIOR U.S. DISTRICT JUDGE
 UNITED STATES OF AMERICA,                       ARTHUR J. TARNOW

             Respondent.
                                       /

 ORDER DENYING MOVANT’S MOTION FOR EXTENSION OF TIME TO REPLY [154];
 DENYING MOVANT’S MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE
           [132]; AND DENYING CERTIFICATE OF APPEALABILITY

       On October 6, 2010, a jury convicted Movant of conspiracy to possess with

 intent to distribute five kilograms or more of cocaine, in violation of 21 U.S.C. §§

 846 and 841(a)(1).     On January 25, 2011, this Court sentenced Movant to

 seventeen years (204 months) of imprisonment and five years of supervised

 release.1 Movant appealed his conviction and sentence, which the Sixth Circuit

 affirmed on January 7, 2013. On April 9, 2013, Movant filed the instant Motion to

 Vacate, Set Aside, or Correct Sentence [132]. On November 10, 2014, the Court

 issued an Order [144] directing the government to respond to Movant’s motion by

 1
   On September 21, 2015, the Court issued an Order [162] reducing Movant’s
 sentence to 151 months (12 years and 7 months) to reflect a retroactive reduction
 in the applicable sentencing guidelines.
                                           1
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1348 Filed 10/02/15 Page 2 of 13




 December 15, 2014. The government filed its Response [150] on December 9,

 2014. On September 8, 2015, Movant filed a Motion for Extension of Time to

 Reply [154].

       Movant has not provided an adequate explanation for his failure to file a

 reply in the many months since the government filed its Response. Further, the

 Court finds a reply brief unlikely to change the result.   Therefore, Movant’s

 Motion for Extension of Time to Reply [154] is DENIED. For the reasons stated

 below, Movant’s Motion to Vacate, Set Aside, or Correct Sentence [132] is

 DENIED. Movant is DENIED a certificate of appealability.

                               FACTUAL BACKGROUND

       On appeal from Movant’s conviction, the Sixth Circuit summarized the

 background of this case, in part, as follows:

             The investigation in this case began in January 2010, when a
       confidential informant, “Nop,” told ATF Agent Joseph Nether about
       an armed home-invasion crew. Nop introduced Nether, working
       undercover and posing as a drug courier for a large narcotics
       organization, to Porter, a member of the group with whom Nop had
       previously committed these armed robberies. On January 19, 2010,
       Nether told Porter that he wanted the Mexican cartel for which he
       worked to be “hit” because it paid him too little for his courier
       services and refused to compensate him properly for the
       dangerousness of his job. Nether mentioned that a typical shipment
       would include more than thirty kilograms of cocaine and that there
       were always at least two armed people guarding the drug house. When
       Nether asked if Porter would be interested in the job, Porter
       responded, “That’s what we do. That’s what we do. We do it all the
                                           2
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1349 Filed 10/02/15 Page 3 of 13




       time.” Nether explained to Porter that the cartel used a different house
       for each delivery and that once he learned the location of the stash
       house, the crew would have to rob it within a couple of hours, before
       the cocaine was sent out with couriers.
               On January 28, 2010, Nop telephoned Porter and arranged for
       Nop, Porter, and Nether to meet at a local restaurant to discuss the
       robbery plans. Nether told Porter that he anticipated the arrival of
       thirty to forty kilograms of cocaine around February 1. On February 1,
       Nop called Porter to let him know that the robbery would occur the
       next day and to arrange a meeting of the crew at the restaurant on the
       day of the robbery. Porter told Nop that he would bring McGee and
       another individual, later revealed to be Howard Barkley, as part of the
       crew.
               When Nether arrived at the restaurant, Porter, McGee, and Nop
       were already there. They reviewed the plans for the robbery. McGee
       told Nether, “I'm following lead baby, I'm wit ya'll, whatever ya'll, I'm
       rollin.” Later, the last member of the team, Barkley, arrived at the
       meeting. McGee had recruited Barkley to participate in the robbery as
       the driver. Porter then dismissed the crew with instructions to retrieve
       the guns that they would carry for the robbery and reconvene at a
       local liquor store. Barkley went with McGee to McGee's house, where
       McGee retrieved an assault rifle. The crew members reassembled at
       the liquor store and continued on to the storage facility where Nether
       indicated the robbery would take place. Nop, Nether, Porter, and
       Barkley all entered through the gate, but McGee did not follow. He
       claimed that the gate had closed too quickly, so Nether gave him the
       gate code over the telephone. At that point, officers announced
       themselves and arrested Porter, Nop, and Barkley. McGee escaped,
       but was later arrested.
               After the arrests, officers received information that there were
       firearms at Porter's mother's residence. Upon a search of her home,
       officers discovered a Ruger Mini–14 .223 caliber rifle, a 12–gauge
       Mossberg shotgun, a 20–gauge Springfield shotgun, and a .40 caliber
       HMK handgun. Two of the firearms had recently been stolen from
       McGee's neighbor in a home invasion that McGee had arranged for
       Porter and other crew members to commit.
               McGee pled not guilty and went to trial on October 5–6, 2010.
       On the morning of trial, McGee's counsel moved to exclude testimony
                                          3
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1350 Filed 10/02/15 Page 4 of 13




       relating to the uncharged home invasion robbery under Federal Rule
       of Evidence 404(b), asserting that it would be more prejudicial than
       probative if admitted. The district court denied McGee's motion,
       agreeing with the government that the uncharged robbery was within
       the charged conspiracy because a gun found in Barkley's home
       following his arrest was stolen in the course of that robbery, and
       because the two robberies involved the same group acting together on
       two consecutive days. McGee's counsel did not move for acquittal at
       the close of the government's case or at the end of all of the evidence.
       At the conclusion of the trial, the jury convicted McGee of conspiracy
       to possess with intent to distribute five kilograms or more of cocaine,
       in violation of 21 U.S.C. §§ 846 and 841(a)(1). McGee was sentenced
       to 204 months of imprisonment and five years of supervised release.

 United States v. McGee, 510 F. App’x 377, 379–80 (6th Cir. 2013).

                                     ANALYSIS

       To succeed on a motion to vacate, set aside, or correct a sentence, a movant

 must allege “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law that was so fundamental

 as to render the entire proceeding invalid.” Pough v. United States, 442 F.3d 959,

 964 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th

 Cir. 2003)).

 I.    Insufficient Evidence

       Movant argues that his conviction was unlawful because there was

 insufficient evidence to support a conviction for conspiracy to possess with intent

 to distribute five kilograms or more of cocaine. Movant claims that the evidence

                                          4
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1351 Filed 10/02/15 Page 5 of 13




 was insufficient because it showed only that he agreed to play the role of a “gun

 man” who would facilitate the robbery, but would be uninvolved in possessing or

 selling the drugs. Movant also argues that he never entered the location where the

 arrest took place, and therefore took no step towards the underlying offense of

 robbery, “which would set the course of a true possession with the intent to

 distribute cocaine.” Relatedly, Movant suggests that there could be no attempted

 robbery because the “stash house” to be robbed was of an unknown location and

 was, in fact, fictitious.

        The Sixth Circuit held on direct appeal that sufficient evidence supported

 Movant’s conviction. McGee, 510 F. App’x at 382. Movant’s present challenge to

 the sufficiency of the evidence therefore fails.

 II.    Ineffective Assistance of Counsel

        Movant alleges a violation of his constitutional right to counsel, “an error of

 constitutional magnitude.” See Pough v. United States, 442 F.3d 959, 964 (6th Cir.

 2006) (quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th Cir. 2003)).

 This claim is exempted from the general rule barring a court from considering, on a

 motion to vacate sentence under 28 U.S.C.§ 2255, arguments not raised on direct

 appeal. Massaro v. United States, 538 U.S. 500, 504 (2003). In any event, Movant

 raised an argument based in the ineffective assistance of counsel on direct appeal;

                                            5
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1352 Filed 10/02/15 Page 6 of 13




 the Sixth Circuit held that the arguments should be addressed in collateral

 proceedings such as these. McGee, 510 F. App’x at 382.

       To establish ineffective assistance of counsel, Movant must show that his

 counsel rendered deficient performance and thereby prejudiced Movant’s defense

 so as to render the outcome of the proceedings unreliable. See Strickland v.

 Washington, 466 U.S. 668, 687 (1984).            Movant identifies many alleged

 deficiencies in his counsel’s performance. The Court will address them in turn.

       A. Failure to advise of the consequences of conviction

       Movant claims that his counsel told him he would face no more than ten

 years of imprisonment, thereby failing to inform him of a seventeen-year

 mandatory minimum sentence. However, Movant is mistaken; though Movant was

 sentenced to seventeen years of imprisonment, the mandatory minimum was only

 ten years. In essence, then, Movant’s claim is that his counsel was deficient for

 portraying his minimum ten-year sentence as a maximum ten-year sentence.

       This argument fails. On the first day of trial, and before the trial began, both

 government counsel and Movant’s counsel stated on the record that the charge

 carried a ten-year mandatory minimum. The Court asked Movant to confirm that

 he understood the minimum sentence and that he faced the possibility of a sentence

 of life imprisonment. Movant confirmed that he understood both and that he

                                           6
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1353 Filed 10/02/15 Page 7 of 13




 nevertheless chose to proceed to trial. Thus, Movant cannot show that his counsel

 failed to inform him of the ten-year mandatory minimum or that he was prejudiced

 by such a failure.

        B. Failure to challenge evidence regarding uncharged robbery

        Movant argues that his counsel did not effectively contest the admission of

 evidence concerning an uncharged robbery, which the Court—after initially ruling

 otherwise—admitted into evidence because it was intrinsic to the charged

 conspiracy.    However, Movant’s counsel did challenge the admission of this

 evidence.     The Court simply rejected counsel’s argument.        The Sixth Circuit

 affirmed the Court’s admission of the evidence on appeal, holding that it was not

 an abuse of discretion. McGee, 510 F. App’x at 381. Movant does not specify any

 way in which his counsel’s challenge to the evidence was deficient. This argument

 therefore fails.

        C. Failure to assert Movant’s right to allocution

        Movant argues that his trial counsel was ineffective for failing to assert

 Movant’s right of allocution at sentencing, and that his appellate counsel was

 ineffective for failing to raise the denial of this right as an issue on direct appeal.

 Movant appears to be invoking Federal Rule of Criminal Procedure 32(i)(4)(A)’s

 requirement that the Court, before imposing sentence, give the defendant’s

                                           7
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1354 Filed 10/02/15 Page 8 of 13




 attorney a chance to speak on the defendant’s behalf and personally address the

 defendant to allow him to speak in favor of mitigating his sentence. FED. R. CRIM.

 P. 32(i)(4)(A). However, Movant does not explain how the Court failed to meet

 this requirement. Movant’s counsel argued on his behalf at the sentencing hearing.

 The Court personally addressed Movant at the sentencing hearing to ask what he

 had to say on his own behalf, and he responded that he had nothing to say. Since

 Movant was afforded his right to allocution, he has not established that his counsel

 was ineffective for failing to enforce that right.

       D. Failure to argue withdrawal from conspiracy

       Movant faults his counsel for failing to argue the affirmative defense of

 withdrawal from the alleged conspiracy. However, in the process of holding that

 sufficient evidence supported Movant’s conviction, the Sixth Circuit concluded

 that Movant’s act of driving away from the robbery (after the police announced

 themselves) was a “mere cessation” of criminal activity rather than an affirmative

 withdrawal. McGee, 510 F. App’x at 382 (citing United States v. Cox, 565 F.3d

 1013, 1016 (6th Cir. 2009)).       Movant therefore cannot establish that he was

 prejudiced by his counsel’s failure to argue that driving away constituted

 withdrawal.




                                            8
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1355 Filed 10/02/15 Page 9 of 13




       E. Failure to demand competency hearing

       Movant argues that his counsel was ineffective for failing to file a motion to

 determine Movant’s competency to stand trial. “A defendant is competent to stand

 trial if he has ‘a rational as well as factual understanding of the proceedings against

 him’ and ‘has sufficient present ability to consult with his lawyer with a reasonable

 degree of rational understanding.’” United States v. Heard, 762 F.3d 538, 541 (6th

 Cir. 2014) (citing Dusky v. United States, 362 U.S. 402, 402 (1960) (per curiam)).

 Aside from a passing reference to his “low mental capacity,” Movant does not

 suggest that he was incompetent to stand trial, let alone that he exhibited signs of

 incompetence sufficient to render his counsel’s performance deficient for failure to

 request a competency hearing. Moreover, even in the absence of a motion by

 Movant’s counsel, the Court was required to hold a competency hearing on its own

 motion if faced with reasonable cause to believe that Movant was incompetent to

 stand trial. Id. The Court did not order a competency hearing because it did not

 discern reasonable cause to doubt Movant’s competency—suggesting that even if

 counsel had requested a competency hearing, it would not have changed the

 outcome. This argument fails.

       F. Failure to challenge co-defendants’ statements and testimony




                                           9
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1356 Filed 10/02/15 Page 10 of 13




        Movant asserts that his counsel should have objected to the admission of

  unspecified out-of-court statements by his co-defendants without cross

  examination and challenged Defendant Porter’s competency as a witness. Movant

  does not explain why his counsel should have done these things. He has therefore

  forfeited these arguments for failure to develop their substance. E.g., Hayward v.

  Cleveland Clinic Found., 759 F.3d 601, 618 n.9 (6th Cir. 2014) (citing McPherson

  v. Kelsey, 125 F.3d 989, 995–96 (6th Cir. 1997)).

        G. Failure to raise an entrapment defense

        Movant faults his counsel for failing to argue that government agent Nether

  induced Movant’s participation in a conspiracy that he had no predisposition to

  join, entitling him to an entrapment instruction. Movant’s reasoning seems to be

  that the evidence supported his predisposition to commit home invasion only,

  because the government’s confidential informant informed Nether only of

  Movant’s involvement in home invasions. Thus, the argument goes, Movant could

  have proved he was not predisposed to join the conspiracy proposed by Nether,

  since it involved a target crime other than the only crime Movant was known to

  have committed on his own initiative. However, “the ready commission of the

  criminal act amply demonstrates the defendant’s predisposition.” United States v.

  Hammadi, 737 F.3d 1043, 1049 (6th Cir. 2013) (quoting United States v.

                                          10
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1357 Filed 10/02/15 Page 11 of 13




  Kussmaul, 987 F.2d 345, 349 (6th Cir. 1993)). Regardless of whether Movant had

  committed a robbery tied to drug trafficking before, he showed a predisposition to

  do so by agreeing to Nether’s proposed conspiracy, and attempting to carry it out,

  without hesitation.   Because the entrapment defense that Movant envisions is

  meritless, he cannot show that his counsel was deficient for failing to press it.

         H. Failure to object regarding § 3553(a) factors

         Movant argues that his counsel should have objected at sentencing to the

  Court’s consideration of the 18 U.S.C. § 3553(a) factors on the grounds that the

  Court considered “just one or two” of the factors and not all of them. On direct

  appeal, the Sixth Circuit held that the Court followed the factors and reached a

  sentence that was not substantively unreasonable. McGee, 510 Fed. App’x at 383.

  Accordingly, Movant has not shown that his counsel rendered deficient

  performance by failing to object to the Court’s consideration of the factors, or that

  such an objection might have changed the outcome.

  III.   Procedural Default

         Under the doctrine of procedural default, a defendant who has failed to raise

  an issue on direct appeal is generally barred from raising the issue via a motion

  under § 2255 unless he can demonstrate cause and prejudice to excuse his failure

  to raise it on direct appeal. Huff v. United States, 734 F.3d 600, 605–06 (6th Cir.

                                            11
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1358 Filed 10/02/15 Page 12 of 13




  2013) (citing Elzy v. United States, 205 F.3d 882, 884 (6th Cir. 2000)). Movant

  attempts to raise several issues that he did not raise on direct appeal. He argues

  that the Court should have provided additional jury instructions; that the Court

  erred by failing to make a specific finding that Movant, rather than the conspiracy,

  was accountable for a particular quantity of drugs; and that the Court erroneously

  applied a firearm enhancement at sentencing. He does not attempt to show cause

  for his failure to raise these issues on direct appeal. Accordingly, the Court holds

  that these arguments are barred by the doctrine of procedural default.

                                     CONCLUSION

        For the reasons stated above, the Court will deny Movant’s motion to vacate,

  set aside, or correct his sentence.    Movant’s current 151-month sentence will

  remain intact. Further, Movant has failed to make a substantial showing of the

  denial of a constitutional right. Thus, the Court will not grant Movant a certificate

  of appealability. See Tennard v. Dretke, 542 U.S. 274, 282 (2004) (citing 28

  U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 484 (2000)). Accordingly,

        IT IS ORDERED that Movant’s Motion for Extension of Time to Reply

  [154] is DENIED.

        IT IS FURTHER ORDERED that Movant’s Motion to Vacate, Set Aside,

  or Correct Sentence [132] is DENIED.

                                           12
Case 2:10-cr-20075-TGB-RSW ECF No. 163, PageID.1359 Filed 10/02/15 Page 13 of 13




        IT IS FURTHER ORDERED that Movant is DENIED a certificate of

  appealability.


                                     s/Arthur J. Tarnow
                                     Arthur J. Tarnow
  Dated: October 2, 2015             Senior United States District Judge




                                       13
